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                         UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                             Eastern Division (Cleveland)

      Inez Nieves and Betsy Ramos, on be-
      half of themselves and all others similarly
      situated,

      Plaintiffs,                                       Case Number: 1:24-cv-01861
                                                        CLASS ACTION COMPLAINT
      v.
                                                        DEMAND FOR JURY TRIAL
      Lorain County, an Ohio political subdi-
      vision unit of government; and Craig
      Snodgrass, in his official capacity as
      Lorain County Auditor,

      Defendants.

1.         The Fifth Amendment to the U.S. Constitution, incorporated against the

     States and their municipalities through the Fourteenth Amendment, prohibits the

     government from taking private property without paying just compensation to the

     property’s owner.

2.         For over a decade, Lorain County has violated this prohibition.

3.         The violation proceeds as follows. First, people or businesses fall behind on

     paying their property taxes—often, only a few thousand dollars in back taxes. The

     County then takes the land via a tax deed and transfers the property to its county

     land bank. The land bank then sells the property to a private buyer. The prior own-

     ers lose their entire interest in the property, such that a few thousand dollars in

     taxes results in the forfeiture of tens or hundreds of thousands of dollars in land


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     value. That surplus value—the difference between the taxes owed and the sale

     value of the property—is never returned to the former owner.

4.         The U.S. Supreme Court recently held, unanimously, that this practice of

     seizing the surplus value in connection with property taken to satisfy a tax lien

     violates the Fifth Amendment’s Takings Clause. Tyler v. Hennepin County, 598 U.S.

     631 (2023). More particularly, though the taking of the property to satisfy delin-

     quent taxes is itself legal, the failure to provide just compensation for the surplus

     value beyond the delinquent taxes is unconstitutional.

5.         The victims of that policy are most often poor, elderly, and vulnerable. Steal-

     ing the surplus value from these individuals is not just unconstitutional, it is un-

     conscionable.

6.         This lawsuit seeks redress for these unconstitutional, uncompensated tak-

     ings. More precisely, this suit seeks relief on behalf of a class of all victims of Lorain

     County’s property value theft.

7.         The class-action mechanism provides a clean, efficient vehicle for judicial res-

     olution of the hundreds of individual claims that would otherwise clog the courts.

8.         It is time to end the practice of institutionalized property-value theft and to

     justly compensate many property owners in Lorain County who were victims of

     this practice.

                                    PARTIES – PLAINTIFFS

9.         Inez Nieves is a natural person resident in Lorain County, Ohio.


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10.     Betsy Ramos is a natural person resident in Lorain County, Ohio.

11.     Plaintiffs, and all others similarly situated, were victims of institutionalized

  theft by their county government, Lorain County.

                               PARTIES – DEFENDANTS

12.     Lorain County is the municipal government responsible for Lorain County,

  which is immediately adjacent to Cuyahoga County. It is the employer of Mr. Snod-

  grass and others who administer its tax scheme.

13.     Mr. Snodgrass is auditor of Lorain County and is sued in his official capacity.

  As auditor, he is the responsible official for implementing the tax forfeiture policies

  of the County.

14.     Acting under color of state law and pursuant to its own policy choices, the

  Defendants violated the rights of Plaintiffs and all others similarly situated (the

  plaintiff class) by stealing the value in their property over and above the amounts

  legally owed for back property taxes.

                               JURISDICTION & VENUE

15.     Jurisdiction exists under 28 U.S.C. § 1331 because the Plaintiffs and the pro-

  posed Plaintiff Class are individual persons (and their estates and heirs) and entities

  (such as limited liability companies or corporations) bringing claims under the U.S.

  Constitution for violations of their civil rights by a local government. See 42 U.S.C.

  § 1983.




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16.     Jurisdiction for the declaratory relief is further appropriate under 28 U.S.C.

  § 2201(a).

17.     Venue is appropriate in the Northern District of Ohio under 28 U.S.C.

  §1391(b)(1) & (2) because the Plaintiffs are residents of the Northern District of

  Ohio, the properties they formerly owned are in the Northern District of Ohio, and

  the Defendants are in the Northern District of Ohio.

                                          FACTS

18.     Betsy and Inez owned a home together at 125 W. 29th St., Lorain, OH 44055.

  They first bought the home in May 2006.

19.     The modest home, built in 1900, has four bedrooms, one full bathroom, and

  is located in downtown Lorain.

20.     The home and underlying property have a market value of $71,930, accord-

  ing to the County, and an assessed value of $25,180. See Exhibit 9, Lorain County

  Auditor’s property report for parcel 0201003203008.1 Zillow assigns the property

  a value of $93,900.2 Redfin assigns it a value of $115,407.3


  1
    For the court’s convenience, the following is a full list of exhibits:
      1. Lorain County “Vacant Land Application,” from the County’s website
      2. Lorain County “Land Bank FAQs,” from the County’s website
      3. Lorain County “Land Disposition Policy,” from the County’s website
      4. Lorain County “Available Parcels,” from the County’s website
      5. Lorain County Land Bank Website
      6. Judgment Entry of Forfeiture for Parcel 0201003203008
      7. Auditor’s Deed for Parcel 0201003203008
      8. Quit Claim Deed for Parcel 0201003203008
      9. Auditor’s Property Report for Parcel 0201003203008
  2 https://www.zillow.com/homedetails/125-W-29th-St-Lorain-OH-44055/34533996_zpid/
  3 https://www.redfin.com/OH/Lorain/125-W-29th-St-44055/home/66118679



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21.      Like many people struggling to make ends meet, Betsy and Inez fell behind

  on paying their property taxes. The taxes on the home were modest, only $1,453.14

  in tax year 2022. Id.

22.      Nevertheless, when they fell behind on their taxes, to the tune of $16,257,

  the County took their entire home. In March 2022, the County initiated judicial

  proceedings to foreclose on the home.

23.      On June 22, 2022 and July 6, 2022, the Sheriff of Lorain County put the prop-

  erty up for sale on open auction dates. No one bid the minimum required.

24.      As a result, the failure to sell resulted in forfeiture of the property to the State

  of Ohio. Exhibit 6.

25.      On October 26, 2022, Lorain County executed the transfer of the property

  from Betsy and Inez to the State.

26.      Forfeiture to the State, however, is just a technical stop along the real road

  to the ultimate destination. Even after forfeiture to the State, Lorain County retains

  practical responsibility for determining what to do with the property.

27.      Lorain County has a policy and practice of doing one of two things with for-

  feited lands.4 Some lands it sells to the general public in an auction by the Auditor.




  4 See Lorain County Land Bank FAQs (Exhibit 2): “Lorain County Land Bank will sometimes

  choose to hold property that has potential to be redeveloped; either because it is contiguous to
  other Land Bank owned property, has economic development or potential for public purpose.”
  https://oh-loraincounty.civicplus.com/DocumentCenter/View/534/Land-Bank-FAQs-PDF

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  That annual sale takes place in September. This year 35 properties were on the list,

  with back taxes owed as low as $210.05.5

28.      Other properties the County turns over to its county land bank, the Lorain

  County Land Reutilization Corporation. This is in reality just a bureaucratic shuf-

  fling of responsibility, as the land bank is functionally an arm of the county.

29.      According to the County’s website, “The Primary function of the County

  Land Bank is to serve as a facilitator for the return of vacant, abandoned, and tax

  foreclosed property to productive tax paying economic uses or to beneficial public

  uses.” Exhibit 5.

30.      Indeed, of the various ways that properties come into the land bank, most

  often it is through tax foreclosure (i.e., forfeiture): “The Land Bank acquires prop-

  erties through tax foreclosure, gifts, negotiated purchase, donations and Deed in

  lieu of foreclosure. The most common means will be tax foreclosure.” Lorain

  County Land Bank FAQs, Exhibit 2.6 Accord Carissa Woytach, Lorain County looks

  to tackle affordable housing in strategic plan, The Chronicle-Telegram (May 14,

  2024).7

31.      The Land Bank is an arm of county government. Of its five board members,

  four are county officials (the fifth is the mayor of Lorain). The County


  5 https://auditor.loraincounty.com/auditor/cms/files/File/Audi-

  tors%20Land%20Sale/2024/2024%20Auditor%20Land%20Sale%20and%20Rules.pdf
  6 https://oh-loraincounty.civicplus.com/DocumentCenter/View/534/Land-Bank-FAQs-PDF
  7 https://chroniclet.com/news/391047/lorain-county-looks-to-tackle-affordable-housing-in-

  strategic-plan/

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  Administrator is its director, and its three staff members are the County ports di-

  rector, the county assistant prosecutor, and the clerk of the County Board (who is

  the land bank’s corporate secretary). Exhibit 5.

32.     When the land bank transfers property, it claims exemption from the real

  estate transfer fee as an instrumentality of government.

33.     The county undertakes this policy as authorized by O.R.C. 5722.04: “the

  county auditor shall deliver to the electing subdivision a list of all delinquent lands

  within an electing subdivision’s boundaries that have been forfeited to the state

  pursuant to section 5723.01 of the Revised Code and thereafter shall notify the

  electing subdivision of any additions to or deletions from such list. The electing

  subdivision shall select from such lists the forfeited lands that constitute nonpro-

  ductive lands that the subdivision wishes to acquire, and shall notify the county

  auditor of its selection prior to the advertisement and sale of such lands.” In other

  words, the County exercises policy discretion under the statute to pick and choose

  which properties it wants to take through its land bank.

34.     According to the court record in their foreclosure case, Betsy and Inez’s

  home is one such property that was tax foreclosed and then transferred into the

  land bank pursuant to O.R.C. 5622.04. See Exhibit 7.

35.     The land bank listed the property for sale.8


  8 https://www.loraincountyohio.gov/DocumentCenter/View/3279/LCLRC--Available-Par-

  cels-PDF?bidId=

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36.     The land bank sold the property on July 24, 2024, to All American Home

  Renovations, LLC, which now owns it. Exhibits 8 and 9.

37.     When the land bank sells property, it does so in accord with its “Land Dis-

  position Policy.” Any purchaser can purchase the property provided they meet cer-

  tain basic criteria (like not having any tax debts themselves). Exhibits 1-3.

38.     According to the policy, “The following factors shall be taken into consider-

  ation when determining the appropriate sale price for all parcels: . . . .” Exhibit 3.

  The first factor is “[t]he market value currently assigned by the Lorain County

  Auditor.” Exhibit 3. In this instance, the market value assigned by the Auditor, Mr.

  Snodgrass, is $71,930.

39.     Upon information and belief, the land bank sold the property to All American

  Home Renovations LLC for a price above the back taxes owed by Inez and Betsy

  (only $16,257).

40.     A taking in violation of Tyler occurred when the County land bank issued a

  deed transferring the entire property to All American Home Renovations LLC

  without paying the difference between the sale price and the taxes owed to the prior

  owners. Had the property sold at auction, they would have been entitled by law to

  the difference between the sale price and the taxes owed. O.R.C. § 5721.20. Because

  the property did not sell initially, but instead sold later, they lost everything.

41.     To be clear, Plaintiffs do not challenge the foreclosure judgment as to their

  property. Their claim is that the County took their property without furnishing


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  them just compensation for the surplus value of their property when it later sold

  the property. See generally Knick v. Twp. of Scott, 588 U.S. 180 (2019) (takings claim

  accrues at time of taking). See also Davenport v. Town of Reading, 2024 U.S. Dist.

  LEXIS 187132, *4 (D.Mass. Oct. 15, 2024) (taking in violation of Tyler occurs and

  the statute of limitations is triggered not by the transfer of the deed title to the

  municipality, but the sale of the property by the municipality with a profit over the

  tax debt).

42.      Lorain County exercises its policy discretion to sell land from its land bank

  according to its land disposition policy and to keep the full proceeds without any

  return of the surplus value to the property owner.

                                    PLAINTIFF CLASS

43.      A class action is the simple, efficient way to ensure that all Lorain County

  homeowners and small businesses that have been victims of this theft receive just

  compensation for the gross violation of their constitutional and legal rights.

44.      To that end, Plaintiffs bring this action on behalf of themselves and all others

  similarly situated pursuant to Federal Rule of Civil Procedure 23, particularly Rule

  23(a) and (b), on behalf of the following Class:

      All persons, natural and legal, and their successors and heirs, who meet the fol-
      lowing criteria: (1) they owned or were the beneficial owners of real property in
      Lorain County; (2) their property was subject to a tax forfeiture by the county;
      (3) the property did not sell at a tax auction and so was forfeited; (4) the property
      was then transferred to the county land bank; and (5) the county land bank then
      sold the property for a greater amount than the taxes owed.



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45.     Plaintiffs believe that the Class can be ascertained on a consistent, fair, all-

  properties basis. The only information necessary would be the taxes owed (which

  the County would know) and the sale price from the land bank (which, again, the

  County would know). See In re Sabree, 2023 U.S. App. LEXIS 6218, *5 (6th Cir.

  March 15, 2023) (“[T]he amount for which the property sold at auction and the

  total tax delinquency are both readily ascertainable. Said differently, a class action

  seeking surplus proceeds does not present the administrative difficulties present in

  a class action seeking surplus equity.”).

46.     Excluded from the Class is any judge or magistrate presiding over this case

  and their family members and staff. Plaintiffs reserve the right to modify the class

  definition as the case unfolds and further facts are discovered.

47.     Upon information and belief, the Plaintiff Class includes hundreds of people

  and companies whose homes or business properties were taken through a tax deed

  and pushed into the land bank. Lorain County currently has 216 properties for sale

  through the land bank (Exhibit 4)9, and has had similar numbers for the past dec-

  ade. Bringing such suits individually would clog the courts, whereas a single class

  proceeding would result in an efficient adjudication, such that the requirement of

  numerosity is met. The information as to who belongs to the class and their contact

  information can be discerned from data held by the County.


  9 https://www.loraincountyohio.gov/DocumentCenter/View/4198/LCLRC--Available-Par-

  cels-PDF?bidId=

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48.      There are questions of law and fact common to all members of the Class. All

  have been subject to the same process laid out by Ohio law and Lorain County

  policies.

49.      The questions of law are common across the Class:

  • Does the Defendants’ policy of executing a tax deed where surplus value was
    not returned to the property owner constitute a taking without just compensa-
    tion under the Fifth Amendment?

  • Does the Defendants’ policy of imposing punitive sanctions in the form of seized
    surplus value far in excess of the back taxes owed violate the Eighth Amend-
    ment?

50.      The questions of fact are also simple: Were the Class members stripped of

  their property by a county tax deed? And did the sale price of their property from

  the land bank exceed the back taxes and interest owed on the property?

51.      Once the law and facts are resolved, the question is simply how to return to

  the Plaintiff Class the amount stolen from them by the Defendant County.

52.      The claims are typical across the entire class: all members of the Plaintiff

  Class were the victims of the same property tax policies administered by the

  County.

53.      Plaintiffs will fairly and adequately protect the interests of the Class. All

  Plaintiffs are members of the Class. Plaintiffs have no interests adverse to the in-

  terests of the Class. Plaintiffs are committed to prosecuting this action and have

  retained competent, experienced counsel who have had substantial success prose-

  cuting class action cases and claims based on constitutional law.


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54.     Questions of law or fact common to the Class predominate over questions

  affecting individual members of the class, as the only individualized question—the

  size of the surplus taken from any given class member—can be quickly and easily

  determined using the County’s data.

55.     A class action is the optimal vehicle to fairly and efficiently resolve the ques-

  tion of property value theft for its victims in Lorain County. The alternative is

  dozens or hundreds of individual lawsuits, which would clog the courts. Moreover,

  such lawsuits are unlikely to the extent that the Plaintiff Class is overwhelmingly

  composed of low-income and elderly residents and those for whom English is a

  second language, such that the class action is the optimal vehicle for achieving jus-

  tice for the greatest number of persons. A class action ensures all victims of prop-

  erty theft are justly compensated without burdening the courts or Defendants with

  numerous lawsuits.

       DAMAGE TO PLAINTIFF CLASS BEYOND THE STOLEN VALUE

56.     Home ownership is a core pillar of the American dream. Home ownership is

  correlated with physical health, mental and emotional health, financial prosperity,

  a secure retirement, and a solid family life. See Luke A. Munford, et al., Is owning

  your home good for your health? Evidence from exogenous variations in subsidies in Eng-

  land, 39 Economics and Human Biology 100903 (2020).

57.     When members of the Plaintiff Class lose their entire home value, they are

  literally forced out on the streets with nothing. It is virtually impossible for them


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  to move into a new home when they have zero money for a down payment after all

  their equity has been stolen by their government. They end up in apartments, on

  the couches of friends and neighbors, or on the streets. Their children are forced to

  move schools, and their entire lives are disrupted. The loss of a home to foreclosure

  correlates to mental and emotional strain, a decline in physical health, a decline in

  academic achievement for students in the home, and a multi-generational loss of

  wealth. See Alexander C. Tsai, Home foreclosure, health, and mental health: a systematic

  review of individual, aggregate, and contextual associations, 10 PloS one e0123182

  (April 7, 2015).

58.     Loss of a home is not just about its immediate effects: it is also about the loss

  of dignity. Homeownership is a mark of pride, of responsible membership in the

  community, of citizenship in a neighborhood, of stake in a place. It represents a

  tremendous blow to a person’s standing in the community to be forced out on the

  street after a foreclosure. Gregory S. Alexander, Property, Dignity, and Human

  Flourishing, 104 Cornell L. Rev. 991 (2019).

59.     The same is true for those who lose commercial properties. An owner-occu-

  pied duplex, a family-run restaurant, or a small business already live on the nar-

  rowest of margins. The loss of all value in a commercial property can bankrupt a

  small business. The owner of that business has to lay off employees, cancel vendor

  contracts, and stop serving customers. An entire community is affected.




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               UNCONSCIONABLE BEHAVIOR BY DEFENDANTS

60.     The Defendants cavalier attitude towards the constitutional rights and hu-

  man dignity of the Plaintiff Class is outrageous, displaying a consistent indifference

  that shocks the conscience. For starters, one would think it obvious that intentional

  government-organized theft on a massive scale would be wrong, plain and simple.

  But numerous academic and advocacy reports made Illinois state and local govern-

  ments aware that their policies were outrageous and especially damaging to their

  most vulnerable populations: the elderly, communities of color, and those who

  speak English as a second language. Yet they chose to persist in these policies even

  knowing of their effects because they wanted the cash.

61.     One of the nation’s premier academic experts in this area finds “greed and

  cruel indifference to their victims” pervasive in the tax foreclosure industry. An-

  drew W. Kahrl, Unconscionable: Tax Delinquency Sales as a form of dignity taking, 92

  Chicago-Kent L. Rev. 905, 932 (2017). As Professor Andrew Kahrl of the Univer-

  sity of Virginia points out in an article for the Chicago-Kent Law Review, “Because

  minority neighborhoods have historically been subject to discriminatory overtax-

  ation and lower property values as result of segregation and ‘redlining,’ African

  American homeowners have been and remain more vulnerable to predatory tax

  buying.” He continues, “Tax buying has inflicted a significant, if underappreciated,

  economic toll on black America. It contributed, in no small measure, to the precip-

  itous decline of black landownership over the second half of the twentieth century


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  (from over 15 million acres in 1910 to 2.3 million acres in 1997), prevented African

  American communities from becoming partners in and beneficiaries of real estate

  development in some of America’s most vibrant markets, accelerated the deterio-

  ration of urban minority neighborhoods and stymied efforts at recovery, and exac-

  erbated the racial wealth gap. It has also left deep emotional scars on victims, rob-

  bing them of their dignity in the course of taking—or threatening to take—their

  property.”

62.     “To homeowners facing eviction, predatory tax buying was a cruel, vicious,

  indeed unconscionable, act.” Id. at 923. He concludes, “It is unconscionable, but

  perhaps not surprising, that many states allow private investors to take someone

  else’s property and all of its equity over a debt that often originates from an accident

  or oversight.” Id. at 933.

63.     Institutionalized value theft preys upon the elderly in particular. A 2012 re-

  port from the National Consumer Law Center notes, “Homeowners most at risk

  are those who have fallen into default because they are incapable of handling their

  financial affairs, such as individuals suffering from Alzheimers, dementia, or other

  cognitive disorders.” The Other Foreclosure Crisis, Nat. Consumer Law Center (July

  2012).10




  10 https://www.nclc.org/wp-content/uploads/2022/09/tax-lien-sales-report.pdf



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64.     Institutionalized value theft also disproportionately affects communities of

  color. An article from the Center for Community Progress notes, “In many com-

  munities, delinquent property tax enforcement systems also unfairly burden com-

  munities of color. In Baltimore, investigative reporters recently found that proper-

  ties in the city’s majority-Black census tracts have tax liens that are sold at much

  higher rates than minority-Black census tracts. In Washington, DC, investigative

  reporters found that Black homeowners disproportionately lost their homes to tax

  foreclosure and researchers have found that tax foreclosures can contribute to gen-

  trification by displacing homeowners of color.” Libby Benton, Delinquent Property

  Tax Enforcement Could Be the Missing Piece in Fighting Vacant Properties, Center for

  Community Progress (Feb. 21, 2023).11

65.     Bloomberg reports similarly that “Generations of Black Americans lost their

  land to tax liens.” Margaret Newkirk, Bloomberg (June 29, 2022).12

66.     Finally, upon information and belief, Defendants have continued executing

  tax deeds in the wake of Tyler. The State of Ohio has not changed its statutes in the

  wake of Tyler. Any tax deed foreclosure that stole property value after May 25,

  2023, the date that Tyler was issued, demonstrates utter and reckless disregard for

  the constitutional rights of persons in the Plaintiff Class.



  11 https://communityprogress.org/blog/delinquent-property-tax-enforcement-could-be-the-

  missing-piece-in-fighting-vacant-properties/
  12 https://www.bloomberg.com/news/features/2022-06-29/tax-liens-cost-generations-of-

  black-americans-their-land

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                                        CLAIMS

               Count I: The Defendants have an established policy and
                practice of taking property without just compensation
                         in violation of the U.S. Constitution.

67.     Plaintiffs incorporate the preceding paragraphs of this Complaint as if fully

  set forth herein.

68.     The Fifth Amendment to the U.S. Constitution, as incorporated against the

  States by the Fourteenth Amendment, forbids counties to take property without

  just compensation. As the Supreme Court held in Tyler, a taxing authority effects

  an uncompensated (and thus unconstitutional) taking when, it keeps the surplus

  value after enforcing a tax lien.

69.     Here, the County took property from the plaintiffs and the class members by

  retaining surplus value after selling the property from the land bank.

70.     Under Tyler, the taking and retention of that excess surplus violates the Fifth

  Amendment’s Takings Clause.

71.     The surplus property value taken from the Plaintiff Class must be returned

  to them by the Defendant County.

72.     The emotional, psychological, and physical health effects of the loss of one’s

  home are also damages that should be rectified.

73.     That taking is a violation of constitutional rights subject to recompense un-

  der Section 1983.




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                Count II: The Defendants have an established policy and
                  practice of imposing excessive fines and forfeitures
                          in violation of the U.S. Constitution.

74.     Plaintiffs reallege and incorporate by reference the allegations set forth

  above as if fully set forth herein.

75.     Lorain County is barred by the Eighth Amendment to the U.S. Constitution,

  as incorporated by the Fourteenth Amendment, from imposing excessive fines.

76.     The Defendants’ policy choices to take the surplus value from delinquent

  property taxpayers are, at least in part, a punitive policy designed to punish law-

  breakers and to disincentivize others from lawbreaking.

77.     Excessive fines are disproportionate fines. See Timbs v. Indiana, 586 U.S. 146,

  153 (2019).

78.     “[T]he Excessive Fines Clause limits the government’s power to extract

  payments, whether in cash or in kind, as punishment for some offense. . . . a fine is

  unconstitutionally excessive under the Eighth Amendment if its amount is grossly

  disproportional to the gravity of the defendant's offense.” Pimentel v. City of Los

  Angeles, 966 F.3d 934, 937 (9th Cir. 2020) (cleaned up). The Clause applies not only

  to criminal forfeitures, but also civil forfeitures and municipal fines. Id.

79.     The Supreme Court, in its seminal modern case on excessive fines, consid-

  ered an instance where a traveler attempted to board an international flight with

  $357,144, in violation of the federal law requiring reporting of any transportation

  of more than $10,000 outside the United States. Id. (discussing United States v.


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  Bajakajian, 524 U.S. 321 (1998)). The Supreme Court found it an excessive fine to

  impose a forfeiture of the entire $357,144 that Mr. Bajakajian attempted to

  transport.

80.     Here, the single offense of failure to pay property taxes, which may go as low

  as a few hundred dollars, results in a sanction equivalent to the entire fair market

  value of a property, which may reach millions of dollars. This is unconstitutionally

  disproportionate in violation of the Eighth Amendment’s excessive-fines clause.

81.     Plaintiffs forfeited over four times the cost of their unpaid taxes, in the gap

  between their taxes owed and the Auditor’s market valuation of their property.

82.     Plaintiffs represent the overall experience of the Plaintiff Class, that the De-

  fendants consistently imposed forfeitures far in excess of the underlying amounts

  involved.

83.     18 U.S.C. 1983 allows for the recovery of damages from counties that violate

  federal constitutional rights.




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                                  PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs, on behalf of themselves and the Plaintiff Class, re-

      spectfully request that the Court:

84.      Certify the Plaintiff Class, designate the Plaintiffs as representatives of the

  Plaintiff Class, and appoint the undersigned as Class Counsel;

85.      Pursuant to the Declaratory Judgment Act (28 U.S.C. §2201 and Fed. R. Civ.

  Proc. 57), provide relief by declaring that the policy of uncompensated seizure of

  surplus value in property by Lorain County is unlawful under the Fifth Amendment

  to the U.S. Constitution;

86.      Pursuant to the Declaratory Judgment Act (28 U.S.C. §2201 and Fed. R. Civ.

  Proc. 57), provide relief by declaring that the punitive policy of uncompensated

  seizure of surplus value in property by Lorain County is unlawful as an excessive

  fine under the Eighth Amendment to the U.S. Constitution;

87.      Award Plaintiffs and the Plaintiff Class just compensation for the unconsti-

  tutional taking of their property, namely the difference between the back taxes and

  interest owed and the sale price of their property from the land bank, with interest;

88.      Award Plaintiffs and the Plaintiff Class just compensation for the unconsti-

  tutional excessive fines imposed, namely the difference between the back taxes and

  interest owed and the sale price of their property from the land bank, with interest;

89.      Award the Plaintiffs and Plaintiff Class nominal damages for the violation

  of their federal constitutional rights;


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90.     Award the Plaintiffs and the Plaintiff Class reasonable attorney’s fees and

  costs, as provided by law;

91.     Grant the Plaintiffs and the Plaintiff Class such other relief as is just and

  proper to recognize their claims and protect their rights to just compensation and

  appropriate damages.

  Respectfully submitted,

  /s/ Joseph P. Ashbrook
  Benjamin M. Flowers (OH# 0095284)
  Joseph P. Ashbrook (OH# 0091279)
  Ashbrook Byrne Kresge LLC
  PO Box 8248
  Cincinnati, OH 45249
  Phone: 513-201-5775
  Fax: 513-216-9882
  bflowers@ashbrookbk.com
  jpashbrook@ashbrookbk.com

  Daniel R. Suhr
        (pro hac vice application forthcoming)
  Hughes & Suhr LLC
  747 N. LaSalle St., Suite 210
  Chicago, IL 60654
  Phone: 414-588-1658
  dsuhr@equitylawsuit.com

  Christopher E. Mills
        (pro hac vice application forthcoming)
  Spero Law LLC
  557 East Bay St. #22251
  Charleston, SC 29413
  Phone: 843-606-0640
  cmills@spero.law




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